                                      UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF TENNESSEE

    JEFFREY BILYEU, et al.,
                     Plaintiff,
    V.                                                                         Case   No.   3:21 -CV-352
    UT-BATTELLE, LLC,
                     Defendant.


                               MOTION FOR ADMISSION PRO I{AC VICE

           The undersigned, counsel for Plaintiffs

    moves for admission to appear in this action pro hac uice.

           Pursuant to E.D. Tenn. L.R. 83.5(bX1).               FILING FEE = $90.00
                     I am a member in good standing of the highest court of the following state,
                     territory or the District of Columbia (list ALL states):
                      Utah
                     AND I am a member in good       standing of another U.S. District Court.                  A
                     certificate of good standins from the DISTRICT court is attached. ).

                                                             OR

           Pursuant to E.D. Tenn. L.R. 83.5(b)(2).              NO FILING FEE REQUIRED.

                     An application for my admission to practice in this Court                  is currently pending.




           I declare under penalty of perjury that the foregoing is true and correct.

           Dare:     10119121


                                                  (S   ignature-hand signed)
   Name: Annika M. Boone
   Firm: Schaerr I Jaffe LLP
   Address:

              17   17 K Street NW, Suite 900, Washington, DC 20006

   Email addrestt
                     aboone@schae rr-jaffe. com
                    Clnce your mrotiom. is granted, yo{r nmurst registen as an H,-Fiter with this Count" For
                                            nnstnuctions visit tlte Co$rt's websifle-




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                                                                                                                      CERTIFICATE OF GOOD STANDING

                                                                                                             UNITED STATES DISTRICT COURT
                                                                                                                                 District of Utah


                                                                                           I, D. Mark Jones, Clerk of the United States District Court, District of Utah,
                                                                                           certify that



                                                                                                                                Annika Boone

                                                                                           Bar # 17176, was duly admitted to practice in this Court on 10/18/2021, and is in good standing as
                                                                                           a member of the bar of this Court.




                                                                                                                                                        D. Mark Jones
                                                                                                                                                        Clerk

                                                                                           Dated at Salt Lake City, Utah
                                                                                           on October 18, 2021
                                                                                                                                                        (By) Deputy Clerk




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